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   KEITH H.S. PECK                  6825

   LEGALACTION ALC
   116 Desert Lotus
   Irvine, CA 92618
   Telephone: (877) 570-7333
   Facsimile: (877) 570-1233
   E-mail: supervising@advocacy-project.com

   Attorney for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI'I

  In the Matter of B.B., by and through         Civ. No. 20-00350 HG-WRP
  his mother K.B.,                               (other civil action)

                 Plaintiffs,                    PLAINTIFFS’ OPENING BRIEF;
                                                CERTIFICATE OF WORD COUNT;
           vs.                                  CERTIFICATE OF SERVICE
  DEPARTMENT OF EDUCATION,
  STATE OF HAWAII and CHRISTINE                 ORAL AGRUMENT
  KISHIMOTO, in her official capacity as        DATE: March 16, 2021
  Superintendent of the State of Hawaii,        TIME: 10:30 a.m.
  Department of Education,                      JUDGE: Hon. HELEN GILLMOR

                 Defendants,



                               PLAINTIFFS’ OPENING BRIEF

   COMES NOW, Plaintiffs B.B., by and through his mother K.B., by and through

   their attorney undersigned, hereby submit their Opening Brief for this honorable

   Court’s review and consideration.



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   I.    INTRODUCTION

        The main issue in this case arises from the language used in the February 5,

  2020 IEP document. On that day, Student’s IEP team held the 3rd and final IEP

  meeting to complete Student’s annual IEP. They had already reviewed Student’s

  Present Levels of Performance, his Goals and Objectives and thus began to discuss

  the amount of Special Education minutes the student needed. This conversation

  dovetailed into a discussion on placement; where Student could receive his services.

  The DOE members of the IEP team made it clear that Student was unsuccessful in

  his current placement because he was not under “instructional control”. He was not

  able to be bought into any general education settings, and he was not able to receive

  academic instruction. In fact, he was uncontrollable and had to be kept in a bare

  room so he could not use any objects to hurt his aides or the Behavioral Health

  Specialist, Edward Keenan. During the discussion regarding whether Student

  qualified for services during school breaks, i.e., Extended School Year services, the

  DOE stated that since the DOE was unable to provide Student academic instruction

  during the 2019-2020 school year, there was no way to determine if he would

  regress during breaks in school intersessions.

        The Behavioral Health Service provider, Mr. Keenan originally believed that

 Student should be placed into a separate facility off school campus in a room by

 himself. The team then considered the input of Parent and she recalled how her son

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 had been successful in a Home and Community setting in the previous year that the

 school had funded and that was overseen by CARD, the Center for Autism and

 Related Disorders. Eventually, the team agreed that isolation in a room at a clinic

 was not appropriate and agreed that Student’s IEP would be implemented in a Home,

 Community and Clinic setting with access to non-disabled peers when Student’s new

 BCBA believed he was ready. Putting Student in a class with disabled peers trigger’s

 his anger. He does not like to think that he is dumb. This is why placing him at

 Horizons Academy, or different special education school was not an option for the

 IEP team.

       Before the meeting ended, the IEP team reviewed the language that would be

 used in the IEP document at item #23. It was stated clearly, “We had agreed that we

 will be in a setting encompassing the home, community and clinical setting.” It was

 repeated: “Home, Community and clinic setting.” Then it was affirmed,

 “Sound’s good to me.” And reconfirmed: “it was special placement in the home,

 community and clinical setting. Um, access to non-disabled peers during community

 settings.” However, and inexplicably the statement was altered when the written IEP

 emerged. Instead, the written IEP states: “Student will participate in a modified day

 schedule at a separate facility. He will have access to non-disabled peers in a

 community setting within safe parameters (developed by providers working with

 him). No mention of the Home aspect of the placement is made at all.

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       The other issue in this appeal is the failure of the DOE to implement the

 February 5, 2020 IEP. During the February 5, 2020 IEP meeting Parent’s counsel

 informed the DOE that now that the team had completed the IEP, it was the DOE

 that had to determine where and how it was implemented. This is in keeping with the

 responsibilities of the parties. The team determines what services and supports a

 student needs and the DOE has to right to determine where and who implements

 those services.

       In a letter dated February 28, 2020 written by Principal Winkie to Parent, the

 Principal mentions potential locations for the implementation of Student’s written

 IEP as “..a private facility operated by Bocha, Inc. or implementation of the IEP at

 MAC (Maui Autism Center). Still no mention of the Home aspect of Student’s

 placement as the team had agreed. According to the Principal, its was either going to

 be implemented at a private facility operated by Bocha, Inc. or at MAC.

       However, the offer of MAC in the 2/28/2020 letter by Principal Winkie was

 before the DOE made an observation of that facility. Upon observation, both Parent

 as BHS Edward Keenan said it would be unsafe because of a clutter. Student, Mr.

 Keenan had said at the IEP meeting was placed into a room at public school with

 nothing in it that he could use as a weapon. MAC had 2 other very disabled student

 in a small space and the room was festooned with objects Student could use to

 terrorize other children and providers.

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       Unbeknownst to Parent Victoria Leworthy wrote to Howard Greenberg of

 MAC on March 30, 2020 asking him: “I am checking in to see if there is still

 availability for this student to be placed in your program or a hybrid/transition

 program between home and school.”

       In the meantime, and prior to the administrative hearing in this matter, the

 parties continued to negotiate over settlement terms. Parent awaited a promised

 counteroffer from the DOE. It finally came about 10 days before the start-date of the

 hearing, but when the offer did not meet Student’s needs, she arranged for CARD

 (Center for Austism and Related Disorders) oversite, a local BCBA, Board Certified

 Behavior Technician, and ran an ad on the website indeed.com which garnered 9

 qualified candidates for the position of RBT, Registered Behavioral Technician. She

 also secured a special education teacher to consult with the RBTs and BCBAs in the

 implementation of the program. Many sought to work on Student’s program because

 it is a “no-profit” program. Instead of paying an RBT $21/per hour and charging the

 DOE $75/hr and pocketing the rest, Parent is offering $35/hr to the RBTs and seeks

 reimbursement of that amount only. Applications came in from RBT’s working from

 all of the existing programs on Maui, including Bocha, Inc. and MAC.

       At the time of the administrative hearing, the DOE had failed to tender any

 means to implement the February 5, 2020 IEP. Finally, in or about November 2020,

 the DOE did make an offer to implement the IEP and Parent accepted the provider

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 the DOE tendered. That provider MAC withdrew when Parent would not waive

 liability for potential negligence by MAC.

   II.    STANDARD OF REVIEW

          The IDEA provides that a court, in reviewing a due process hearing, “(i)

  shall receive the records of the administrative proceedings; (ii) shall hear additional

  evidence at the request of a party; and (iii) basing its decision on the preponderance

  of the evidence, shall grant relief as the court determines is appropriate.” 20 U.S.C. §

  1415(i)(2)(C). But “the provision that a reviewing court base its decision on the

  ‘preponderance of the evidence’ is by no means an invitation to the courts to

  substitute their own notions of sound educational policy for those of the school

  authorities which they review.” Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist.,

  Westchester Cty. v. Rowley, 458 U.S. 176, 206 (1982).

         Under the IDEA, district courts give “considerably less deference to state

  administrative proceedings than they do in most instances of ‘judicial review of . . .

  agency actions, in which courts generally are confined to the administrative record

  and are held to a highly deferential standard of review.’” Anchorage Sch. Dist. v.

  M.P., 689 F.3d 1047, 1053 (9th Cir. 2012) (quoting E.M. ex rel. E.M. v. Pajaro

  Valley Unified Sch. Dist. Office of Admin. Hrgs., 652 F.3d 999, 1005 (9th Cir. 2011).

  District courts review conclusions of law de novo, while at the same time giving

  “due weight” to the administrative hearing officer’s findings. See Ashland Sch. Dist.

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  v. Parents of Student R.J., 588 F.3d 1004, 1008 (9th Cir. 2009); Amanda J. ex rel.

  Annette J. v. Clark Cty Sch. Dist., 267 F.3d 877, 887 (9th Cir. 2001) (“Complete de

  novo review . . . is inappropriate.”). In the instant appeal, the review, however, is

  with regard to the application of the reasoning the administrative law judge used to

  determine that the DOE did not deny Student a FAPE when the written offer of

  FAPE did not comport with the agreements during the IEP development process and

  when the DOE failed to arrange to implement the IEP. This is a de novo review.

        While “due weight” must be given to the administrative decision, the amount

  of deference afforded is informed by the hearing officer’s carefulness and

  thoroughness. See L.M. v. Capistrano Unified Sch. Dist., 556 F.3d 900, 908 (9th Cir.

  2009); J.W. ex rel. J.E.W. v. Fresno Unified School Dist., 626 F.3d 431, 440– 41

  (9th Cir. 2010); see also Ashland, 588 F.3d at 1009 (“In the end, however, the court

  is free to determine independently how much weight to give the state hearing

  officer’s determinations.”). Courts in the Ninth Circuit give deference to an

  administrative law judge’s decision “when it ‘evinces his [or her] careful, impartial

  consideration of all of the evidence and demonstrates his [or her] sensitivity to the

  complexity of the issues presented.’” J.W., 626 F.3d at 438 (quoting Cty. of San

  Diego v. Cal. Special Educ. Hrg. Off., 93 F.3d 1458, 1466 (9th Cir. 1996)).

        The burden of proof rests with the party challenging the administrative

  decision. Hood v. Encinitas Union Sch. Dist., 486 F.3d 1099, 1103 (9th Cir. 2007);

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  Clyde K. v. Puyallup Sch. Dist., No. 3, 35 F.3d 1396, 1399 (9th Cir. 1994).

   III. LEGAL QUESTIONS

     A.      Whether the Written IEP Denies Student a FAPE where it Does Not
             Reflects the Decisions of the 02/05/2020 IEP team.

          There are 3 distinct components of the written 02/05/2020 IEP that do not

  comport with the decisions made at the IEP meeting of that date. This first 2 of these

  alternations was to Student’s placement statement. Instead of a placement statement

  as developed and clearly delineated during the IEP meeting by the IEP team

  members, the DOE redefined the statement regarding both the length of the school

  day and the setting in which the program was to be delivered. This issue was

  identified in the Prehearing Order as Issue 7.

  Issue 7 – Whether the 02/05/2020 IEP document accurately reflects the agreement of
  the IEP team for Student’s placement.

          On February 5, 2020, Student’s current IEP was completed by his IEP Team.

  See P1/001-019. The IEP at page 16 reads:

          [Student] will participate in a modified day schedule at a separate facility. He
          will have access to non-disabled peers in a community setting within safe
          parameters (developed by providers working with him).

          There are 2 changes to the decisions made by Student’s IEP team in this

  description of the Student’s placement. First, the team affirmatively determined not

  to change Student’s school-day schedule. The team considered whether or not to

  change the length of Student’s school day and agreed that it should remain the same

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  as was in the former IEP. Beau Laughlin testified to this matter. Tr. p. 358:9-25, p.

  359:1-2. The audio recording of the IEP also testifies to this matter. P5: 01:18:00 –

  01:18:45 (approx.). So, while the IEP team agreed to keep the length of Student’s

  school-day the same as in his current public-school placement and wait to make

  adjustments if the new staff determined it necessary, the written IEP calls for a

  “modified day schedule”.

        The second change to the agreed-upon placement that emerged in the written

  IEP is more significant. Instead of the program designed by the 02/05/2020 IEP team

  after deliberations on what environmental factors would influence Student’s success,

  the written IEP places Student “…at a separate facility.” This is in stark contrast to

  the placement clearly defined during the IEP meeting as “Home community and

  clinic setting.” P5:01:30:19 – 1:31:35 (approx.). This placement was affirmed in the

  testimony of Beau Laughlin. Tr. p. 359:14-25, 360:1.

        In determining the appropriate setting for the implementation of Student’s IEP

  the team reviewed the continuum of potential placements and determined that the

  home and community setting was essential to Student’s success. This discussion

  started at P5:00:38:54 – 00:53:54, where the team talked about what wasn’t working

  for Student. Then the team discussed what had been successful for Student in the

  past. P5:00:53:58 – 01:01:28 (approx.). The discussion continued through the

  continuum of potential placements. P5:01:01:32 – 01:05:00.

        The team eventually came to a conclusion about a hybrid placement with
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Student’s attorney stating “…now that we have defined the program, you guys figure

out how to implement it.” P5:01:05:35 – 01:14:13 (approx.). What is clear is that the

whole IEP team engaged in a thoughtful discussion about what would work as the

setting for Student, given his history, and determined that the Home, Community and

Clinical setting was most appropriate and the least restrictive placement.

      Without the inclusion of the agreements made by the IEP team for specific

modification for Student’s program and services, the IEP was not “individually

designed to provide educational benefits to the handicapped child,” and this failure

resulted in a substantive denial of FAPE to Student. See Gregory K. v. Longview

Sch. Dist., 811 F.2d, 1307, 1314 (9th Cir. 1987).

      Once an IEP Team agrees to the appropriateness of a service, it should not be

subject to approval or rejection by DOE administrators outside of the

IEP Team. “In any contest between systemic efficiency and the provision of [an

individualized] FAPE to a disabled child, Congress and the Supreme Court have

made clear that the child must prevail.” Reusch v. Fountain, 872 F. Supp. 1421,

1432 (D. Md. 1994) (citing Florence County Sch. Dist. Four v. Carter, 510 U.S. 7,

114 S. Ct. 361, 366 (1993)).

      There are precious few safeguards for families under the IDEA, but one

fundamental safeguarded conferred and worthy of protection is that material services

must be defined to that degree which would allow them to be faithfully implemented

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and, if necessary, challenged by a parent after they are not implemented. See 34

C.F.R. Part 300 Appendix C (stating the IEP is “a compliance/monitoring

document”).

      The Ninth Circuit Court of Appeals recently issued a decision in M.C. v.

Antelope Valley Union High Sch. Dist. (9th Cir., Mar. 27, 2017, No. 14-56344) ___

F.3d ___ [2017 U.S.App. LEXIS 5347, concluding that the IDEA provides parents a

right to participate in every step of the IEP drafting process, including monitoring

and enforcement of the IEP. Although in that case the parent participated in the IEP

meeting, a typographical error obfuscated the offer and meant that she could not use

the IEP to monitor and enforce the services her child would be provided.

Additionally, although the IEP team discussed the types of AT devices during the

IEP meeting, the written IEP did not reflect the specific devise that were to be used

which "rendered the IEP useless as a blueprint for enforcement." Thus, the failure to

identify the AT devices in the IEP was an additional violation. Certainly, the failures

of the written IEP in the instant case are far more significant than those in M.C. v.

Antelope Valley.

      Congress and the courts had already determined that this is a reasonable

requirement. The Ninth Circuit made clear, in Union Sch. Dist. v. Smith, 15 F.3d

1519, 1526 (9th Cir. 1994), that:

      We find that formal requirement [of a specific offer of FAPE] has an
      important purpose that is not merely technical, and we therefore believe it
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      should be enforced rigorously. The requirement of a formal, written, offer
      creates a clear record that will do much to eliminate troublesome factual
      disputes many years later about when placements were offered, what
      placements were offered, and what additional educational assistance was
      offered to supplement a placement, if any. Furthermore, a formal, specific,
      offer from a school district will greatly assist parents in “present[ing a]
      complaint with respect to any matter relating to the … educational placement
      of the child.
      The written IEP does not reflect the decisions of Student’s 02/05/2020 IEP

team. As such, the written IEP is not a FAPE for it is not what the IEP Team

determined was necessary and appropriate for Student.

Issue 2 – Whether the 02/05/2020 IEP should be implemented in the home,
community and clinical setting.

      Listening to the discussions of the IEP team members during the 02/05/2020

IEP meeting, it should be apparent that there was a concern that isolating Student in a

clinical environment would be overly restrictive and because he had been successful

in a home and community setting in the recent past, that setting would be part and

parcel of his new program. There was no decision to first isolate him in a clinical

environment and later provide the home and community settings. It was described as

a hybrid, multi-facetted placement where the advantages of each could be mined. At

the time of the 02/05/2020 IEP meeting, Student was being isolated in a room by

himself and that was deemed ineffective. P5:00:39:00 – 00:54:00 (approx.). See P4.

P.129-131. This is why Student’s placement was defined across the 3 settings.

Furthermore, Parent testified of Student’s success in the home and community

environments. To order Student into a program that excludes the home and
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community, even at the beginning of his program, would run counter to the

determination of his IEP team and to his current demonstrations of success. All three

settings were to be part of a wholistic hybrid approach.

      The third alternation to the agreements made by the 02/05/2020 IEP Team was

to the Individual Instructional Support services in the clarification section of

Student’s IEP at P1/015, as follows:

      Student will receive individual instructional support from an RBT or qualified
      paraprofessional who demonstrate skills and competency in behavior
      management. Along with Individual Instructional Support, a program support
      of an additional professional or paraprofessional will be utilized for data
      collection and program implementation.

      This issue is identified in the Prehearing Order as Issue 3.

Issue 3 – Whether the 02/05/2020 IEP document accurately reflects the agreement of
the IEP team for Student’s supports and services, specifically the clarification of
supports and services regarding student’s Individual instructional support providers.

      The IEP team specifically determined that Student would continue to have at

least 1 Registered Behavioral Technician. P5:00:30:00 – 00:31:20 (approx.). The

written IEP inaccurately states that Student could have the services of 1 RBT and a

paraprofessional or 2 paraprofessionals. This is not what the IEP team determined

was necessary and would also be in violation of the current laws according to Mr.

Beau Laughlin and according to statute. Tr. p. 364:19-25, 365:1-13. and See HRS

Chapter 465D (P5/165-170). While the DOE apparently sough flexibility in the

implementation of Student IEP, the language in the written IEP does not reflect the

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decisions of the 02/05/2020 IEP team requiring at least 1 RBT.

          B. Whether Student’s IEP Should Have Addressed his Needs for
          Transition Supports/Service Between his then-current Placement and
          the Anticipated Placement.

      Student was out-of-control at the public school. The DOE introduced

sufficient proof of this in a record of what happened on a day not long before the

02/05/2020 IEP meeting. It started at 8:02 a.m. when Student arrived at school and

within 30 minutes, he had broken a computer. Then he ran outside grabbed a rock,

threatened the school staff, threatened to burn down the school, screamed and choked

a school staff member, all before 9:30 a.m. DOE p. 299-300. Another recordation of

Student behaviors at school can be found at DOE 308-312 from 02/03/2020. This

issue is identified in the Prehearing Order is as follows:

Issue 4 - Whether the 02/05/2020 IEP offer fails to include a description of the
process and/or supports Student needs to enable him to access his program given the
changes, that should have been anticipated and/or were known from his then-existing
program to the new program in his new IEP.

      Any successful change in Student’s program and placement from the public

school to a home, community and clinical setting would impact Student’s

emotional/behavioral stability. Yet there was little in the way of a discussion about

this impact. Would he start in the home and community and then gradually be coaxed

into a classroom-like environment over time, or would he immediately be isolated for

6 hours a day alone with and RBT and a second person in a room with nothing to use

as a weapon? The only consideration about transition from his then current
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placement was to use the spring extended school year session to make the move.

P1/014 (Student will attend ESY for spring break 2020 for transition purposes to an

alternative placement. He will attend ESY for 4 hours a day March 16-20). The

02/05/2020 IEP was completed on 02/05/2020 and Student was to wait until March

16, 2020 for spring break in order to transition. This was the only support the DOE

offered. Couldn’t Student have started in his home and community setting and been

introduced to his new RBT? Couldn’t Student see his new classroom and be

encouraged to design the space or told about how he could earn rewards? No thought

went into how Student could successfully transition into his new program but to wait

for spring break. After determining that Student’s current program was inappropriate

and that he needed a different program on 02/05/2020, the DOE was obligated to

transition him. Not leave him to languish for another 30 days in the program that

wasn’t working. The DOE agreed that a transition plan was needed in a letter sent to

Parent on 03/06/2020. In that letter Principal Winkie stated, “We agree that a

transition plan is needed for the successful implementation of Student’s new

individualized Education Program (IEP). Development of such a plan would be the

natural progression of team discussion at our next meeting.” DOE 343. In the last

paragraph of this same letter Principal Winkie states, “If you are unable to join us,

the school team will develop a transition plan that will be shared with you.”. It was

the purview of the IEP team to develop the supports Student needed to transition. If

these services were necessary for the “successful implementation” of Student’s
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program, the IEP could not have been implemented without them and therefore it is a

missing element of Student’s substantive offer of FAPE.

      The question of whether the IDEA otherwise requires transition plans to be

included in an IEP is unsettled. See R.E.B. v. Haw. Dep’t of Educ., 870 F.3d 1025,

1027–28 (9th Cir. 2017) reh’g granted, opinion withdrawn by 886 F.3d 1288 (9th

Cir. 2018). However, Plaintiffs never alleged a transition plan was needed. If a

student requires supports and services to affect a successful change from one

program to another then those are services and supports that are required to be

described in the IEP. In this case, the DOE has admitted that such services and

supports are integral to Student’s access to FAPE and asserts that it would complete

a transition plan itself, as a necessary component to a successful transition. Simply

because the DOE calls this set of services and supports a transition plan does not

mean it can be developed in a separate meeting or not at all. Thus, in the instant case,

failing to develop the means to implement the IEP where such means were deemed

essential constitutes a denial of a FAPE because it “result[ed] in the loss of an

educational opportunity, seriously infringe[d] the parents’ opportunity to participate

in the IEP formulation process and cause[d] a deprivation of educational benefits.”

J.L. v. Mercer Island Sch. Dist., 592 F.3d 938, 953 (9th Cir. 2010).

      Additionally, the Ninth Circuit has found a denial of a FAPE where necessary

services were not made part of the IEP, because services unincorporated into the IEP

could be changed unilaterally and did not have the same procedural safeguards as an
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IEP. See M.C., 858 F.3d at 1198–99.

   C.      The DOE Never Tendered the 02/05/2020 IEP Program that the IEP
           Team Developed.

        Plaintiffs have demonstrated that the written IEP was not reflective of the IEP

that Student’s 02/05/2020 IEP team believed would be appropriate. That violation

alone is sufficient to deny Student FAPE since Parent would not be able to enforce

the terms of Student’s IEP, as it was decided by the IEP team and, because the offer

was not what the IEP Team determined was appropriate and necessary for

Student. A substantive violation of FAPE. However, the DOE also never provided or

tendered the IEP to Student, even in its sanitized form.

        The Prehearing Order describes this issue as follows:

Issue 9 - Whether the DOE did timely offer to implement and/or tender
implementation of the 02/05/2020 IEP.

        Principal Rebecca Winkie knew that she was required to implemented the IEP

on 02/06/2020. Once the IEP team determined what the Student required, it was the

DOE that had the obligation to provide it. Tr. p. 302:15-25. In fact, Student’s

attorney emphasized this during the IEP meeting. P5:01:10:20. Instead, the DOE

decided to engage Parent in discussions about who should implement the program.

This was legally unnecessary.

        The first “Team Meeting” was held on 02/18/2020. In a letter dated

02/28/2020, the principal claimed that Bocha Inc., was offered as the program to

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implement Student’s IEP. See P3/078. She also said in that letter that the meeting

was to discuss options. In testimony the principal testified that the details of the

Bocha program may not have been discussed during that initial meeting. Tr. 282:9-

12. Beau Laughlin, the owner of Bocha, Inc., testified that his discussions with

DOE regarding implementation of Student’s IEP never proceeded beyond asking him

if he would be interested in providing the services. There was no space leased, his

personal office space would not have been used for the program and he would not

have agreed to provide any services in Student’s home. Even a program that did not

envision the inclusion of a Home and Community setting was never capable of being

offered by the DOE to Parent because it was never in existence. According to Beau

Laughlin, he never was contractually obligated to provide any program for Student.

Tr. p. 361:22-25. In further questioning, Mr. Laughlin again stated that he was never

contractually obligated to do anything at all. Tr. p. 376:11-14. This means that while

the DOE could have offered Bocha, Inc. to Parent as a possibility, it was not

tendering as a currently viable provider of the IEP. The DOE could not tender what it

did not possess.

      Even if the negotiations between Mr. Laughlin and the DOE proceeded to an

agreement to provide certain services, he did not want to implement the actual IEP

that the IEP team developed. Tr. p. 364:19-23. On cross-examination Mr. Laughlin

stated that in the future he might be able to provide parent training to the home

environment or do that virtually, but his issue was “liability” (Tr. p. 365:12-24), and
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how much progress was being made by Student. Tr. p. 365: 25-366:1-22. And in

further cross-examination, Mr. Laughlin again stated that he had a lot of concerns

implementing Student’s program in the home and community settings. Tr. p. 373:2-

13. Mr. Laughlin also pointed out that he would have required Parent’s collaboration

to implement Student’s program. Tr. 374:6-10. But, Parent had refused to consent to

Mr. Laughlin’s participation. Tr. 374:12-16. Parent did not have to agree to an

outside contractor. Parents consents to the provision of special education and related

services after the student is made eligible. In I.R. ex rel. E.N. v. L.A. Unified Sch.

Dist., 805 F.3d 1164, 1167 (9th Cir. 2015), the court held that:

      However, 20 U.S.C. § 1414(a)(1)(D)(ii)(II) and its implementing regulations,
      by their plain text, foreclose a school district from initiating a due process
      hearing only where a parent has refused consent before the initial provision of
      special education and related services. Clause (i)(II), the parental consent
      provision to which § 1414(a)(1)(D)(ii)(II) refers, states that a school district
      must obtain parental consent “before providing special education and related
      services to the child.” 20 U.S.C. § 1414(a)(1)(D)(i)(II) (emphasis added). The
      implementing regulation similarly forecloses a school district’s ability to file a
      due process complaint and relieves it of its duty to provide a FAPE only “[i]f
      the parent of a child fails to respond to a request for, or refuses to consent to,
      the initial provision of special education and related services . . . .” 34 C.F.R. §
      300.300(b)(3) (emphasis added).

      No further consent is required by a parent for the school to be obligated under

the IDEA. The DOE still had the same responsibility to implement the IEP, even

without specific consent from Parent for a particular contracted service provider.

      On redirect Mr. Laughlin acknowledged that his willingness to consider

adjusting the services he would offer is not necessarily an invitation to require him to
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provide in-home services, but simply an openness to discuss that possibility. Tr.

3753-14. He also clarified that liability and establishment of cooperation and trust

would have to be addressed between himself and the Parent if he were to ever

consider providing in-home services no matter when he might be asked to provide

them. Tr. 376:15-25, p. 377, p. 378:1-6. He stated that that trust had not be

established between himself and the Parent by that juncture. Tr. 378:7-9 & 15-21,

p379:21-25, p.380:1-4. Certainly, Mr. Laughlin’s company Bocha, Inc. was not

ready and willing to implement the IEP that the 02/05/2020 IEP team developed for

Student as of 02/18/2020, the date of Dr. Winkie’s email to Parent.

      If Parental cooperation was a threshold problem for Mr. Laughlin’s agreement

to provide a program to Student, that may have been an insurmountable obstacle for

the DOE. Parent had agreed to the provision of special education and related

services. The DOE had no right to demand that she agree to any specific providers

before the DOE’s obligation to tender the provision of services arose. Had the DOE

actually had a program available to implement the actual terms of the IEP that the

IEP team developed and offered to Parent, they would have met their obligations

even if Parent rejected the program. Involving a provider that demanded Parent first

demonstrate a collaborative attitude thwarted the DOE’s efforts but did not shift the

responsibility from them onto Parent.

      On 02/19/2020 the second “Team Meeting” was held. At the meeting, the

DOE agreed to do observations at Maui Autism Center (“MAC”). See P3/078. In
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February the DOE sent staff to do an observation at MAC. On a date unknown,

Parent did an observation at MAC and testified that the door to the clinic was not

locked when she arrived and that the clinic was adjacent to a busy parking lot and

road. She also testified that the room was filled with objects and toys and clutter. She

further testified that there were other very disabled children in the clinic.

Additionally, she said that there was a small dirty bathroom-size sensory room with

dirty objects inside and that it took one hour to get to the clinic from her home. After

the visit to MAC, Parent wanted to pray and discuss, with his Kaiser team, if MAC

was an apprriate location for Student’s program. DOE 323.

      When the DOE decided to allow Parent to participate in the process of

determining an appropriate provider to implement the IEP plan, it ran the risk of

failing to meet its legal obligations to tender the Student’s program. This risk was

realized when this course of action resulted in no tender of Student’s program.

      In the Ninth Circuit case, Doug C. v. Haw. Dep't of Educ., 720 F.3d 1038 (9th

Cir. 2013) the Court restated the maxim that the school cannot shift the blame on a

parent where it fails to act on an affirmative obligation of its own.1 In Doug C., the


1
  We have consistently held that an agency cannot eschew its affirmative duties
under the IDEA by blaming the parents. See Anchorage Sch. Dist. v. M.P., 689 F.3d
1047, 1055 (9th Cir.2012) (“[P]articipating educational agencies cannot excuse their
failure to satisfy the IDEA's procedural requirements by blaming the parents .”); see
also Target Range, 960 F.2d at 1485 (holding that the school district could not blame
parents' choice to leave an IEP meeting for its own failure to create an IEP with the
participation of the appropriate parties). An agency cannot blame a parent for its
failure to ensure meaningful procedural compliance with the IDEA because the
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school claimed that the father cancelled an IEP 3 times at the last minute and refused

to say anything at the revision IEP meeting after the DOE completed the IEP without

him the previous month. In this case, Parent was invited to participate in the

deliberations as to the proper contractor to implement Student’s program. Merely

because she was emotionally unproductive or unavailable in doing so cannot shift the

blame to her for the DOE’s affirmative duties and failures.

      At some point after the IEP, Parent removed Student from the school when

she saw what his classroom looked like, some time before spring break. Parent

cancelled the third “Team Meeting” on 02/27/2020. DOE 327. Principal Winkie

wrote Parent seeking to reschedule the meeting and schedule “transition

discussions”. DOE 329. Parent responded that she would get back to the principal in

a few days. DOE 331. At the hearing in this matter, Principal Winkie testified that

she has never met with the “Team Meeting” members who observed at MAC and

did not know if MAC was appropriate or not. Tr.p. 293:9-17.

      The 02/28/2020 letter from Principal Winkie also stated, “While the separate




IDEA's protections are designed to benefit the student, not the parent. As we
explained in Amanda J., parental participation is key to providing the student an
adequate education because “[a]n IEP which addresses the unique needs of the child
cannot be developed if those people who are most familiar with the child's needs are
not involved.” 267 F.3d at 892.5 Because the Department's obligation is owed to the
child, any alleged obstinance of Doug C. does not excuse the Department's failure to
fulfill its affirmative obligation to include Doug C. in the IEP meeting when he
expressed a willingness (indeed eagerness) to participate, albeit at a later date.6
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facility is being determined, interim services remain available at Princess

Nahienaena Elementary School.” and “The purpose of our meeting scheduled on

February 27, 2020, was for DOE to report observations and confirm the IEP

placement at MAC.” P3/078; DOE 333/335. This letter, therefore, indicates that the

DOE still did not have a provider willing to implement Student’s IEP, for this

matter was up for discussion. Furthermore, the written IEP, being different in several

ways from the agreements made during the IEP meeting, could not have been the

basis of an offer to implement the FAPE; it was not what the IEP team believed was

appropriate for Student. Also, Parent’s testimony that the clinic at MAC had an

unlocked door, and was adjacent to a busy parking lot and roadway, was filled with

objects that could be used as weapons and had severely disabled children that would

also be attending the clinic might have resulted in the “Team Meeting” members

finding that MAC was actually not an appropriate program in which to implement

Student’s IEP, had they actually discussed this issue.2

      On 03/30/2020, Victoria Leworthy emailed Howard Greenberg, owner of

MAC and inquired whether he “…still had availability for this student to be placed in

your program or a hybrid/transition program between home and school. DOE 346.



2
  Testimony by Beau Laughlin confirms what the audio record evidences, that the
team understood one of Student’s triggers for behavioral outbursts as being in a
space with disabled students. Additionally, elopement is a constant issue for Student.
Furthermore, the DOE knew that Student takes every opportunity to use objects as
weapons. Tr. 362:24-25, 363, 3641-7. See also DOE 299-300, DOE 308-312.
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Mr. Greenberg responded that he did have space at his center, even during

“the COVID-19 crisis.” DOE 347. However, Parent was not offered MAC as a

program for the implementation of Student’s IEP, at this time. She wasn’t informed

of this interchange between Ms. Leworthy and Mr. Greenberg.

      On 03/20/2020 the DOE was sent a description of the proposed alternative

program by Parent. P4. P. 129-131. On 03/23/2020 the First Amended Complaint

was filed alleging that the DOE changed the Student’s agreed-upon placement and

other determinations made by the IEP team when it drafted the IEP document. The

identified remedy was funding for an alternative program. This constituted the notice

to the DOE under 10-day rule. See (20 U.S.C. Sec.1412(a) (10)(C)(iii)

      On 04/20/2020 Principal Winkie sent Parent an email requesting her

participation in a meeting on April 22, 2020 to “…share the continuity of learning

and enrichment activities that are available to Student during the statewide school

closures.” DOE 351. In that letter Principal Winkie also states:

      Also, the transition to which I was referring was the transition to a separate
      facility when we are no longer under “stay-at-home” orders as per the IEP
      completed on February 5, 2020. The need for this transition plan was
      confirmed in your email to me dated March 3, 2020, which specifically stated,
      Whether the IEP is provided by MAC, or some other provider, remains to be
      determined, but what have (sic) been determined by the IEP team is the need
      for a process of transition to help Student make his new IEP a success. This
      was explicitly addressed and determined to be necessary by his IEP team.
      Additionally, I would be against medical advice to do otherwise.”

      This letter confirms that no program was yet identified by the DOE for the


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implementation of Student’s IEP by 04/20/2020.

      On 04/23/2020, Parent responded to Principal Winkie’s April 20, 2020 email

(DOE 351) that the transition she had mentioned in her March 3, 2020 email was the

transition the IEP team had agreed was necessary to develop for the implementation

of the Home, Community and Clinical setting. However, since Parent’s March 3,

2020 email she had discovered that the written IEP document did not reflect the

decisions of the IEP team and instead placed her son in separate facility; isolating

him from all other children. In the March 3, 2020 email, Parent rejects transition to a

“separate facility” and reminds Principal Winkie that when she discovered the

misstatements in the IEP about placement, her attorney filed an Amended Complaint,

there was a Resolution Session meeting and Student was to start an alternative

placement with future transitions from the alternative placement being speculative.

They were talking about 2 separate ideas of transition, in other words.

      Even without having determined whether MAC was an appropriate placement,

according the Principal Winkie’s testimony (Tr. p. 293:9-17), the DOE offered MAC

to Parent (after COVID-19 concerns subside). Yet this was not the tender the

circumstance require. Implementation requires an act. The DOE must show up at the

door, not merely say they are willing to do so. In that offer there is no mention of the

home, community setting described by Student’s 02/05/2020 IEP Team. P5/208-209.

      Lastly, Principal Winkie testified that as of 05/28/2020 Student is still enrolled


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in the DOE. Tr. p. 338:15-25.

        On 2 fronts, the 02/05/2020 IEP that was developed for Student has not

materialized. On the one hand, the written IEP does not reflect the decisions the IEP

Team made about the program deemed appropriate to help Student, and on the other

hand, the DOE is still dawdling unwilling or unable to find a provider ready and

willing to deliver that IEP, even in its sanitized form.

   D.      The DOE’s Prolonged Failure to Implement Student’s IEP Constitutes
           Deliberate Indifference Calls for a Remedy that Places Parent in
           Control of the Delivery of Services.

        The hard question presented by this matter is defining a remedy. As of the

date of this Opening Brief, the DOE has only made the barest of efforts to

implement Student’s IEP. In or about November 2019, the DOE finally offered a to-

be-contracted private services provider; MAC. Parent readily agreed. However,

MAC sent Parent a contract that would have made her liable for the costs of

implementing the IEP and would have also waived her ability for a legal remedy if

MAC was negligent and an injury occurred to Student. On November 30, 2020, a

meeting was held between the parties and Parent was told that a new service

provider was found; Bocha, Inc. Since that date, the DOE send Parent pictures of

DOE and private providers staff with written introductions. Something that the

participants at the November 30, 2020 meeting felt was an appropriate first step to

gain Student’s trust. Parent enthusiastically agreed stating that she was open to


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whatever could help her son. Unfortunately, even this minimal first step was

unsuccessful. Student reportedly has become retraumatized by this minimal contact

from his old school. Nothing has occurred since that virtual contact occurring way of

pictures and short written hellos to further these efforts.

          The February 5, 2020 IEP team listened to Parent about Student’s needs and

agreed that an important element for his education wbyas the home and community

environment. Student fears a return to his old school. Initially, his program should

meet him where he is comfortable and slowly allowing him to acclimated back into a

small program with a few peers after he is under instructional control. This is in

keeping with the intensions of his February 5, 2020 IEP team. The remaining

question is whether this can be accomplished by the efforts of the DOE. Seemingly,

Student will not cooperated with the people he feels have mistreated him. Even if

this perception is unwarranted, it is one of his needs that must be addressed.

Therefore, although perhaps unorthodox, allowing Parent to run the program as

originally sought though the administrative hearing complaint is the only remedy

that will address these unique needs and the only manner in which Student has ever

been able to achieve some educational and emotional progress in the past several

years. Parent only requests reimbursement for actual costs. She seeks no markup or

profit.

          Plaintiffs plead the elements of deliberate indifference in their appeal and

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original claim. The level of indifference the DOE has shown to its obligation to

Student warrants placing Parent in control of his program. She has proven effective

in this regard.

      Recently the Sixth Circuit Court of Appeals made a bold and profound

realization when it addressed the issue of whether a parent had standing to sue a

school district even where the services of the private school had been provided to a

child without the parent having actually paid any money towards the services. The

Court still found a valid contractual obligation existed. See E.M. v. N.Y.C. Dept. of

Educ., 758 F.3d 442, 460 (2d Cir. 2014). The Court also recognized that many

parents cannot afford to pay for services and hope for reimbursement.

      Where, as here, parents lack the financial resources to ‘front’ the costs of
      private school tuition, and in the rare instance where a private school is willing
      to enroll the student and take the risk that the parents will not be able to pay
      tuition costs—or will take years to do so—parents who satisfy
      the Burlington factors have a right to retroactive direct tuition payment relief.

      The same underlaying principle could be applicable here. In this case, Parent

could not afford to pay for services and hope for potential reimbursement in the

future, but she did create a plan and a program and was ready to implement that

program. If nothing else, Plaintiffs have proven the deliberate indifference of the

DOE. Mark H. v. Hamamoto, 849 F. Supp. 2d 990 (D. Haw. 2012).

      Plaintiffs have not sought money damages but the right to substitute itself for

an inept, rouge and indifferent state agency, as the private providers the DOE has

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sought but not found in the preceding 10 months. Adoption of this remedy would act

as a signal to the DOE. Any other remedy would also act as a signal to a school

system that has demonstrated, in this instant matter, a sense of “immunity”.

 IV.    CONCLUSION

       Plaintiff request that this Court order the DOE to fund and allow Parent to

control the provision of her son’s services as discussed during the February 5, 2020

IEP development meeting.

       DATED: Irvine, California, December 14, 2020.

                                        /s/ Keith H.S. Peck
                                        KEITH H.S. PECK

                                        Attorney for Plaintiffs




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                   IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAI'I

 In the Matter of B.B., by and through            Civ. No. 20-00350 HG-WRP
 his mother K.B.,                                  (other civil action)

               Plaintiffs,                        CERTIFICATE OF WORD COUNT
         vs.
 DEPARTMENT OF EDUCATION,
 STATE OF HAWAII and CHRISTINE
 KISHIMOTO, in her official capacity as
 Superintendent of the State of Hawaii,
 Department of Education,

               Defendants,

                       CERTIFICATE OF WORD COUNT

      Pursuit to Local Rule 7.5, I hereby certify that the font used in the

 OPENING BRIEF was Times New Roman, the font size was 14 for main text

 and footnotes and the computer-generated word count is 7,521 words, exclusive

 of the Certificate of Word Count and Certificate of Service.

      DATED: Irvine, California, December 14, 2020.

                                         s/ Keith Peck
                                         KEITH H.S. PECK

                                         Attorney for Plaintiffs




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                    IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAI'I


 In the Matter of B.B., by and through           Civ. No. 20-00350 HG-WRP
 his mother K.B.,                                 (other civil action)

                Plaintiffs,                      CERTIFICATE OF SERVICE
         vs.
 DEPARTMENT OF EDUCATION,
 STATE OF HAWAII and CHRISTINE
 KISHIMOTO, in her official capacity as
 Superintendent of the State of Hawaii,
 Department of Education,

                Defendants,


                              CERTIFICATE OF SERVICE

               I hereby certify that on December 14, 2020, before 12:00 p.m.

 Hawaii Time, a true copy of Plaintiffs Opening Brief was duly served

 electronically through CM/ECF as follows:

               RYAN ROYLO, ESQ.

               DATED: Irvine, California, December 14, 2020.

                                   s/ Keith Peck
                                   KEITH H.S. PECK

                                  Attorney for Plaintiffs




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